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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                     COVINGTON

MISCELLANEOUS ACTION NO. _______________

UNITED STATES OF AMERICA                                                             PETITIONER


V.                             MOTION TO EXTEND TIME TO
                              INITIATE FORFEITURE ACTION


$34,500.00 IN UNITED STATES CURRENCY                                                RESPONDENT

                                             * * * * *

        The United States hereby moves, pursuant to 18 U.S.C. 983(a)(3)(A), to extend by ninety

(90) days to July 19, 2024, the time in which the United States is required to initiate a judicial

forfeiture action against property to which a claim has been filed in nonjudicial forfeiture

proceedings with the Drug Enforcement Administration (DEA). In support of this motion, the

United States submits the following and attaches hereto a proposed order.

        DEA initiated nonjudicial civil forfeiture proceedings after the seizure of $34,500.00

from Sacourtney Bullock during an interdiction at the Cincinnati/Northern Kentucky

International Airport on November 2, 2023. DEA provided written notice of its intent to forfeit

the seized currency to all interested parties as required by 18 U.S.C. § 983(a)(1)(A). Bullock

filed a claim to the seized currency in the administrative forfeiture proceeding. No other person

has filed a claim to the seized currency in the administrative forfeiture proceeding as required by

law, and the time for filing such claims has expired. See 18 U.S.C. § 983(a)(2)(A)-(E).

        DEA received Bullock’s claim to the seized currency on January 22, 2024. Pursuant to 19

U.S.C. §§ 1608 and 1610, upon the filing of the claim, the seizing agency transmitted it to the
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United States Attorney for the purpose of initiating a judicial forfeiture action against the

property. The United States currently has until April 21, 2024, to initiate a judicial forfeiture

action against the seized currency. 18 U.S.C. § 983(a)(3)(A). The United States seeks, by

agreement with the claimant, a ninety-day extension of the deadline for initiating judicial

forfeiture proceedings against the seized property.

       Section 983(a)(3) provides that the United States “shall file a complaint for forfeiture in

the manner set forth in the Supplemental Rules for Certain Admiralty and Maritime Claims” or

“include a forfeiture allegation in a criminal indictment” within ninety (90) days after an

administrative claim has been filed. However, this deadline may be extended “upon agreement of

the parties.” 18 U.S.C. § 983(a)(3)(A). Bullock recently retained forfeiture counsel in California,

who contacted counsel for the United States regarding the potential for negotiating a pre-

litigation settlement of this matter. The United States has requested further information from

Bullock’s counsel, and the parties are continuing to investigate and assess settlement potential.

Thus, they have agreed that the deadline for initiating a judicial forfeiture action should be

extended ninety days to facilitate these continued settlement discussions. If a settlement cannot

be reached within that time frame, then the United States will pursue a judicial forfeiture action.

       WHEREFORE, the United States respectfully requests that the Court extend by ninety

days, until July 19, 2024, the period in which the United States is required to initiate a judicial

forfeiture action against the seized currency. The United States has forwarded a copy to this

motion to Bullock’s counsel, who has agreed to its representations and the requested relief.




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                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 17, 2024, I served a copy of the foregoing by e-mail to the

following:

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                                             /s/ Haley Trogdlen McCauley
                                             Assistant United States Attorney




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